17-01101-scc        Doc 24       Filed 11/20/18       Entered 11/20/18 14:47:08        Main Document
                                                     Pg 1 of 2
                             Hearing Date and Time: January 17, 2019, at 2:00 p.m. (prevailing Eastern Time)
                               Response Deadline: December 18, 2018, at 4:00 p.m. (prevailing Eastern Time)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :   Chapter 11
                                                               :
BCBG MAX AZRIA GLOBAL                                          :   Case No. 17-10466 (SCC)
HOLDINGS, LLC, et al.,                                         :
                                                               :   Jointly Administered
                                                               :
                  Debtors.                                     :
---------------------------------------------------------------x
                                                               :
DAVID MACGREEVEY, in his capacity as                           :
PLAN ADMINISTRATOR,                                            :   Adv. Pro. No. 17-01101 (SCC)
                                                               :
                  Plaintiff,                                   :
                                                               :
         vs.                                                   :
                                                               :
NYAM, LLC,                                                     :
                                                               :
                  Defendant.                                   :
---------------------------------------------------------------x

                         NOTICE OF HEARING ON PLAINTIFF’S
                       MOTION FOR PARTIAL SUMMARY JUDGMENT

        PLEASE TAKE NOTICE that upon the Statement Pursuant to Local Rule 7056-1 Of

Material Facts As To Which There Are No Genuine Issues to Be Tried, the Memorandum of Law

in Support of Plaintiff’s Motion For Partial Summary Judgment, and the Declaration of Beth

Levine in Support of Plaintiff’s Motion For Partial Summary Judgment, all of which are dated

November 20, 2018, David MacGreevey (the “Plaintiff”), solely in his capacity as plan

administrator, shall move this Court for an order, pursuant to Rule 56 of the Federal Rules of

Civil Procedure, Rule 7056 of the Federal Rules of Bankruptcy Procedure and Rule 7056-1 of

the Local Bankruptcy Rules, granting Plaintiff’s motion for partial summary judgment and

granting such other relief as the Court deems just and proper. A hearing on this motion will be




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held before the Honorable Shelley C. Chapman, United States Bankruptcy Judge, in Room 623

of the United States Bankruptcy Court for the Southern District of New York, One Bowling

Green, New York, NY 10004, on January 17, 2019 at 2:00 p.m. (Eastern Time), or as soon

thereafter as counsel may be heard.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief sought by

this motion must be made in writing, with a hard copy to chambers, conform to the Federal Rules

of Bankruptcy Procedure and the Local Bankruptcy Rules and be filed with the Court and served

in accordance with the Order (I) Establishing Certain Notice, Case Management, and

Administrative Procedures and (II) Granting Related Relief [Docket No. 90] so as to be actually

received by the parties on the Master Service List, including the undersigned counsel to the

Plaintiff, not later than December 18, 2018 at 4:00 p.m. (Eastern Time).

        PLEASE TAKE FURTHER NOTICE that if no objections are timely filed and served

with respect to this motion, the relief requested by this motion may be granted without a hearing.


Dated: November 20, 2018                 PACHULSKI STANG ZIEHL & JONES LLP


                                         /s/ Beth E. Levine
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                                         Bradford J. Sandler, Esq.
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                                         Counsel to the Plaintiff




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